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        ~-
         ~ NAME
        FULL -~ `~~~'~~`~S
                                                                                                                     DEC ► ~ 2018
        COMMITTPDNAME(ifdiffavn)
                                                                                                          CE      ~ 11 DISTRICT OF CAL~t(~r:•,Ji.4
       FUf.L ADDR63S INQ.UDINO NAME OP INSTfl'
                                                 [7170N             Cad v'~



         / B~~i3~1 (~,~
       PRISON NUMBER (iFayDlimble)




                                                          vxrrEn sTa~s n~s~ucT couRT
                                                    CENTRAL DISTRICT OF CALIFORNIA

                                      ~9-                                                                 To be su~plred 6y the Clerk                 ~~
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                                                                PLAIIVTIFF,
                                            ~'
     S~~ c            ~„~,~a~ ► i~'~ ~~^'~ ~f~` ' •                                   CIVIL RIGHTS COMPLAI1~dT

      5~~~ s                         ~~,~r                                                PURSUANT TO ~u~t o~J
                             ~                              D~~~s~'
                                                                               r~ U.S.Q.§ I983
                                                                               evens v. Six Unlrnown Agents 403 U.S. 388 (197
                                                                                                                              1)
    A. PREVIOUS LAWSUITS

        1. Have you brought any other lawsuits in a federal
                                                            cour              t while a prisoner:    es      ❑ No
       2. If your answer to "1." is yes, how many?

              Describe the lawsuit in the space below. (Ifthere is more
                                                                        than one lawsuit, describe the additional lawsuits
              attached piece of paper using the same outline.)                                                             on an




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                                                                                                                                         Page 1 of6
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                  a. Parties to this previous lawsuit:
                     Plaintiff .Sri,~' ~~'~/~,%P✓~


                      Defendants _ _ ~~~~~~ ~7f'~F_ f
                                                     . P/fi ~


                 b. Court     ~! .,~ . j~ r C ~
                                                          ► ^~ ojt ~~ + ~~`
                                                     ~,,~1~                                           ~'~ „~2 ~ v ~,f ~- ~ ,

                 c. Docket ar case number
                 d. Name of judge to whom case was assigned     (~~            fi ~
                                                                               ~'~l
                 e. Disposition (For example: Was the case dismissed?
                                                                      If so, what was the basis for dismissal? Was
                                                                                                                   it
                    appealed? Is it still pending?) ~t
                                                     ~~~j~ ~ ,~~' ~ ~~,~                    ~ /,~ ~ ~ ,,f,~~s
                f. Issues raised: Ci~.~t.e~l ~..~r~ c..~,u
                                                              u     ~ / y~~~./~ ~ ~~.~
                      ~u,P i4~v ~ S

                g. App~xirnate date of filing lawsuit:             o2.D ~ Q
               h. Approximate date of disposition            ~~~ 7             ~ ~a

   B. EXHAUSTION OF ADMII~tISTRATTVE
                                                         REMEDIES
        1. Is there a gr~iev~ce procedure available at
                                                       the institution where the events relating to your
           occurred? C~'Yes ❑ No                                                                         torrent complaint

       2. Have you filed a grievance concerning t~tre facts
                                                            relat      ing to yow currern complaint? l~'Yes          ❑ No
              If your answer is no, explain why not




      3. Is the grievance procedure completed? Q'Ye
                                                   s               L~No
              Ifyour answer is no, explain why not
                                                                                                e
                1/J ~ l ~      1/:'~ i~ ~,..ir
                                                                                                        C{
     4_ Please attach copies of papers related to the
                                                      griev        ance procedure.
 C. JURLSDICTION

     This complaint alleges that the civil rights of plain
                                                            tiff                      ~!G ~~-~/~
                                                                                         {print plain' s name)
     who presently resides at 6-.3 p'        F ~ 1~~~ f~,df                   ,I/J~ /~°~~i4~~-~...h.C.A~ ~v'2 //~'
                                                               me~~g address or p nce ~ co   ement'
     were violated by the actions ofthe                s) named below, whech actions were directed again
                                                                                                                 st plaintiff at




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          on (date or dates) ~"~ t` ~~                            ~/~/~ ~/~~~
                                  ~`1-
                                     atm                            — Claim—TIC                ,_    ~/'~17~~
                                                                                                              atm
          NOTE:     You need not name more than one defendant or allege
                                                                         mote than one claim. If you are naming more than
                    five(S)defendants, make a copy ofthis page to provi
                                                                        de the information for additional defendants.
          1. Defendant J ~~ N             ~ ~ ~t
                           name o Firs    ant                                                        resides or works at

                            (full address offirst defendant)            _
                                         ~~.~1~f~~~~~~



               The defendant is sued in hisTher(Check one or both): C~ind
                                                                          ividual          ~fFicial capacity.
               Explain how this defendant was acting under color
                                                                        of]aw:




        2. Defendant ( ~~~                    /✓~               ~n ~/i~✓ ~e P- ~ ~
                          fulT name o ~'ust' e en nt                                                              resides or works at




              The defendant is sued in his/her{Check one or both):          individual    C~"officia! capacity.
              Explain how ttus defendant was acting under color of]aw:




      3. Defendant ~iv                          ~ ~ ~'~ ~
                              name o      t         t                                                        resides or works at
                                                                                                                         ,~--
                        (full address offirst defendant)           _
                                                           '
                                                           j
                                                           ~y

          The defendant is sued in his/her(Check one or both): ~ividual
                                                                                         ~cial capacity.
         E~lain how this defendant was acting under color ofIaw:



                                                                                                                    -/Q -/~




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                                                                                                                                Page 3 of6
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              4. Defendant                                 ~~,~          ~ ~~                             resides or works at
                              ~ S~ ~_ ,r1~f1~/~' __,J~~~L~✓~f;/C,o/f~,
                             (full address offast defendant)          fir,                                    ~~2 y~

                The defendant is sued in his/her(Check one or
                                                                     both): Crividual    ~cia!capacity.
                Explain how this defendant was acting under color
                                                                         oflaw:                                     _



         5. Defeadent                l~~'     ~ ~~           r~
                                                                                                         resides or works at
                          (frill name offirst dofa~dant)

                        • (full address offast defendant)
                                        -            ^ -
                                  ~t position an v e, a any


               The defendant is sued in hisJher(Check one or
                                                                    both): ~dividual    ~cia]capacity.
              Explain how this defendant was acting under color
                                                                       of law:
                j~J~ r►~             .~~         ~c-~ ~'~if ,~~.oD ~~~~ ~~                         /~Sl ~~T


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      D. CLAIMS*
                                                                  CLAIM I
             The following civil right has bcen violated:




       Supporting Facts: Include all facts you consider impor
                                                              tant State the facts clearly, in your own words
                                                                                                              , and without
       citing legal authority or argument. Be certain you descr
                                                                ibe, in separately numbered paragraphs, exactly what
                                                                                                                      each
       DEFENDANT(by name)did to violate your right.




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               r    ~                         ~           ~       r




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    *Ifthere is more them one claim, describe the additional
                                                             claims)on another attachedpiece ofpaper using the
    outline.                                                                                                   same



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       E. REQUEST FOR RELIEF

           I believe that I azn entitled to the following specific relief:
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                  (Date)
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San Bernardino County Sheriff's Department
         C entral Detention Center
            630E Rialto Avenue
        S~ ~ Bernardino, CA 92415




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